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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,       )           CRIM. NO. 05-00490 HG-07
                                )
               Plaintiff,       )           ORDER DENYING DEFENDANT
                                )           KAPIHE<S MOTION FOR SEVERANCE
          vs.                   )           OF DEFENDANTS
                                )
AKONI SANDOVAL KAPIHE,          )
                                )
                                )
               Defendant.       )
_______________________________ )

                   ORDER DENYING DEFENDANT KAPIHE<S
                  MOTION FOR SEVERANCE OF DEFENDANTS

      Defendant Akoni Sandoval Kapihe ("Kapihe") has moved to

sever his case from Co-defendants Robert Kupahu ("Kupahu") and

Keoki Astronomo (“Astronomo”).         Kapihe contends that severance is

warranted because a joint trial would violate his rights under

the Confrontation Clause and the Compulsory Process Clause of the

Sixth Amendment of the United States Constitution.

      Kapihe contends that prosecution witnesses may testify that

co-defendants made numerous admissions that controlled substances

were being brought into Federal Detention Center Honolulu (“FDC

Honolulu”) by Kapihe, and that this would deny him his right to

confront the witnesses against him.          Kapihe further contends that

co-defendants Kupahu and Astronomo could provide exculpatory

testimony that Kapihe had no knowledge that controlled substances

were being concealed in the prohibited objects being brought into

FDC Honolulu by Kapihe.      The Court finds that severance is not

warranted in order to protect all defendants’ constitutional
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rights to a fair trial.      Defendant Kapihe<s Motion for Severance

is DENIED.

                                BACKGROUND

      The Superseding Indictment charges Defendant with:

      (1)   Count 1 - conspiracy to distribute methamphetamine, a

            Schedule II controlled substance;

      (2)   Count 2 - conspiracy to provide an inmate of a prison a

            prohibited object; and

      (3)   Count 5 - Providing an inmate of a prison a prohibited

            object.

      The Government contends that the evidence at trial will

demonstrate the following:

                           PROCEDURAL HISTORY

      On April 27, 2006, Kapihe was charged in the second

superseding indictment.

      On May 4, 2006, Kapihe filed a Motion to Continue and to

Sever.

      On May 8, 2006, Co-defendant Astronomo filed his Statement

of No Opposition.

      On May 11, 2006, the Government filed a Memorandum in

Opposition to Kapihe’s motion.

      On May 12, 2006, Co-defendant Kupahu filed a Position

Statement to join in Kapihe’s motion for severance and separate

trial for Defendant Kapihe but opposing continuance of the trial.


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      On May 17, 2006, the Government filed a Reply to Kupahu’s

Position Statement.

      On May 23, 2006, Co-defendant Astronomo filed a supplemental

memorandum of law in support of Kapihe's motion.

      On May 26, 2006, at the scheduled hearing, the Court granted

Defendant’s Motion to Continue Trial.              The Court took Defendant’s

Motion to Sever under advisement, giving the Government until

June 9, 2006 to file a proffer.             The Court gave the Defendants

until June 16, 2006 to file a response to the Government’s

proffer.

      On May 31, 2006, the Government filed its proffer.                  No

defendant responded to the Government’s proffer.

                             STANDARD OF REVIEW

      Generally, Fed. R. Crim. P. 8(b) permits joinder of

defendants who allegedly committed the same crime.                  Although

joinder promotes efficiency, Fed. R. Crim. P. 14 provides that

trials may be severed where it appears that a joint trial would

cause prejudice.        The defendant seeking severance must establish

"a serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence."                  Zafiro v.

United States, 506 U.S. 534, 539 (1993).               Under Fed. R. Crim. P.

14, the Court has broad discretion to grant or deny requests to

sever joined defendants after balancing the interest in judicial


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economy against the risk of prejudice to the defendant.                  See

e.g., United States v. Olson, 504 F.2d 1222, 1224 (9th Cir.

1974).

                                 ANALYSIS

      Kapihe argues that his trial should be severed from the co-

defendants because: (1) prosecution witnesses may testify that

Kapihe’s co-defendants made numerous admissions that Kapihe was

bringing controlled substances in to FDC Honolulu, thus denying

Kapihe his right to confront witnesses against him; and (2)

Kapihe believes that the co-defendants could provide exculpatory

evidence proving Kapihe’s lack of knowledge of the crime, and a

joint trial would prohibit Kapihe from compelling them to testify

on his behalf, violating the Compulsory Process Clause.

I.    Confrontation Clause

      A. Legal Framework

      The Confrontation Clause of the Sixth Amendment of the

United States Constitution guarantees the right of a criminal

defendant "to be confronted with the witnesses against him."

Richardson v. Marsh, 481 U.S. 200, 206 (1987).                "The right of

confrontation includes the right to cross-examine witnesses."

Id.

      In Bruton v. United States, 391 U.S. 123 (1968), the United

States Supreme Court held that a defendant<s Sixth Amendment

right to confrontation is violated where an unredacted facially


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incriminating confession of a co-defendant is introduced at the

defendants< joint trial and the confessing co-defendant does not

testify.   The Court found a Sixth Amendment Confrontation Clause

violation even though the trial court instructed the jury to

consider the confession only as evidence against the confessing

defendant.    The Court recognized that while a limiting

instruction may provide adequate protection in certain

circumstances:

      [T]here are some contexts in which the risk that the jury
      will not, or cannot, follow instructions is so great, and
      the consequences of failure so vital to the defendant, that
      the practical and human limitations of the jury system
      cannot be ignored. ... Such a context is presented here,
      where the powerfully incriminating extrajudicial statements
      of a codefendant, who stands accused side-by-side with the
      defendant, are deliberately spread before the jury in a
      joint trial . . .

Id. at 135-36 (citations omitted).

      The Court in Richardson v. Marsh, 481 U.S. 200 (1987)

explained the limitations of the holding in Bruton.                 In Marsh,

the trial court admitted a non-testifying co-defendant<s

confession.    The confession had been redacted to omit not only

the other defendant<s name, but any reference to her existence.

The trial court also instructed the jury that the confession was

not to be used as evidence against the other defendant.                  The

Marsh Court distinguished Bruton because in Bruton the

codefendant<s confession "expressly implicat[ed]" the defendant

as his accomplice.      Marsh, 481 U.S. at 208 (citing Bruton, 391


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U.S. at 124 n.1)).      By contrast, the prosecution redacted the

confession in Marsh to eliminate any reference to the defendant<s

existence.    After redaction, the confession was not incriminating

on its face, but only became so when linked with evidence

introduced later at trial.      Id.

      In certain instances, redaction may not be sufficient to

cure a Confrontation Clause problem.             A redacted confession in

which the defendant<s name is replaced by a blank space, the word

"deleted", or a similar symbol is insufficient to protect the

defendant<s rights under the Confrontation Clause.                See Gray v.

Maryland, 523 U.S. 185, 197 (1998).             In United States v.

Peterson, 140 F.3d 819, 822 (9th Cir. 1998), the court applied

Gray, and held that the redaction of the defendant<s name for

"person X" was clearly impermissible.             In the context, it was

obvious that the prosecution had redacted the defendant<s name

from the statement.

      The American Bar Association Standards for Criminal Justice

also provide guidance in situations involving joint trials and

codefendant confessions.      ABA Standards for Criminal Justice 13-

3.2, entitled "Severance of defendants" provides, in part:

      (a) When a defendant moves for severance because an out-of-
   court statement of a codefendant makes reference to, but is
   not admissible against, the moving defendant, the court should
   determine whether the prosecution intends to offer the
   statement in evidence as part of its case in chief. If so, the
   court should require the prosecuting attorney to elect one of
   the following courses:


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           (i)    a joint trial at which the statement is not
                  admitted into evidence.

           (ii) a joint trial at which the statement is admitted
                into evidence only after all references to the
                moving defendant have been deleted, provided that,
                as deleted, the statement will not prejudice the
                moving defendant, or

           (iii) severance of the moving defendant.

      B.   The Parties< Positions

      Kapihe states that he believes that prosecution witnesses

may testify that co-defendants made numerous admissions that

controlled substances were being brought into FDC Honolulu by

Defendant Kapihe.       Such evidence Defendant Kapihe claims would

deny him his right to confront the witnesses against him. (Kapihe

Mtn. at 6-7.)

      The Government first points out that Kapihe does not

disclose the statements that form the basis of his motion.                  The

Government assumes that Kapihe is referring to statements made by

Co-defendants Kupahu and Astronomo during the period of the

conspiracy.    Kapihe did not dispute the Government's position at

the hearing.     Kapihe's argument fails as admissions made by co-

defendants who are co-conspirators are admissible pursuant to

Rule 801(d)(2)(E) of the Federal Rules of Evidence (“FRE”).

(Gov. Opp. at 7-8.)

      C.   The Court<s Analysis

      Under the circumstances alleged here, the Court finds that

the introduction of Co-defendants Kupahu and Astonomo’s

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statements during the United States’ case in chief does not

violate Kapihe’s rights under the Confrontation Clause.                  An out-

of-court statement by a co-conspirator is admissible if (1) there

is independent evidence of the existence of a conspiracy, (2) the

statement was made in furtherance of the conspiracy, and (3) the

statement was made during the course of the conspiracy.                  United

States v. Arias-Villanueva, 998 F.2d 1491, 1502 (9th Cir. 1993).

The Government maintains that there is independent evidence that

satisfies these requirements, including Kapihe’s own admissions

about his involvement.

      It is important to note that neither Kupahu or Astronomo

made any post-arrest statements to law enforcement.                 This

distinguishes the facts of this case from the facts in Bruton v.

United States, 391 U.S. 123 (1968), which held that the admission

of a co-defendant’s confession in a joint trial violated the

petitioner’s right of cross-examination secured by the

Confrontation Clause of the Sixth Amendment.

      The Government has also set forth that it intends to

introduce a portion of statements made by Kapihe to law

enforcement.    According to the Government, these statements will

come in through the testimony of Special Agent McLaughlin and

will reflect that after Kapihe made the first of four deliveries,

he was aware that the items he brought into the FDC Honolulu

contained controlled substances.            The Government represents that


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Kapihe's testimony before the grand jury, his affidavit after

arrest, and the colloquy at his failed plea attempt will not be

introduced.    The Government also indicates that the names of the

other inmates will not be mentioned or implicated.                 The

statements will only address Kapihe's knowledge and will come in

through the testimony of the law enforcement agent.                 In Marsh,

the United States Supreme Court held that “the Confrontation

Clause is not violated by the admission of a nontestifying co-

defendant’s confession with a proper limiting instruction when,

as here, the confession is redacted to eliminate not only the

defendant’s name, but any reference to his or her existence.”

Marsh, 481 U.S. at 211.

II.   Right of Compulsory Process

      To succeed in moving the Court to sever the trial on the

basis of his alleged need for the co-defendants’ testimony,

Kapihe must establish “(1) that he would [have called] the

[co]defendant at a severed trial, (2) that the codefendant would

in fact [have testified], and (3) that the testimony would [have

been]...substantially exculpatory.”             United States v. Pitner, 307

F.3d 1178, 1181 (9th Cir. 2002)(citation omitted).                 The district

court is “required to consider the weight and credibility of the

proposed testimony and the economy of severance.”                 Id. (citation

omitted).

      Kapihe stated that his co-defendants would be able to


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provide exculpatory testimony about his involvement in the

alleged conspiracy.       Kapihe maintains that unless the trial is

severed, he will not be able to compel his co-defendants to

testify.

      The Government argues that Kapihe’s claims are based on the

false assumption that Kapihe can compel his co-defendants to

testify in a separate trial against him.             A criminal defendant

has a Fifth Amendment privilege against self-incrimination that

includes not only the privilege not to be summoned to the witness

stand but also the privilege not to answer questions to which the

answers might be incriminating, citing United States v. Gay, 567

F.2d 916, 918 (9th Cir. 1978).          The Government also cites Gay to

note that a defendant “has no absolute right to elicit testimony

from any witness, co-defendant or not, whom he may desire.” (Gov.

Opp. at 10, citing Gay, 567 F.2d at 918).

      Kapihe has presented no evidence indicating that either or

both co-defendants would in fact forfeit their right not to

testify if the case were severed.            In fact, Co-defendant Kupahu,

in his Position Statement filed May 12, 2006, stated that he

“does not intend to waive his Fifth Amendment right to remain

silent in order to provide testimony as counsel for defendant

Kapihe alleges.”        (Kupahu Pos. Statement at 1-2.)         On May 8,

2006, Co-defendant Astronomo stated, “It is unlikely that

defendant Keoki Astronomo will testify on behalf of defendant


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Kapihe.    In no event would defendant Keoki Astronomo testify on

behalf of defendant Kapihe if defendant Kapihe’s trial were to

occur before defendant Keoki Astronomo’s trial.”              (Astronomo

Statement of No Opp. at 1).

      Kapihe has clearly failed to show that co-defendants Kupahu

and Astronomo would in fact have testified.              Kapihe has also

failed to show that, if they were to testify, their testimony

would be substantially exculpatory.          As Kapihe has failed to meet

the burden required, his motion is DENIED.

                                CONCLUSION

      A joint trial of all co-defendants is in the interest of

both judicial economy and the ends of justice.             The witnesses are

the same and the trials would be unnecessarily duplicative by

severance.

      Kapihe has failed to show that Co-defendants Kupahu and

Astronomo would actually testify at his trial, and he has failed

to show that any testimony would be substantially exculpatory.

      For the foregoing reasons, Defendant Kapihe’s Motion for

Severance of Defendants (Doc. No. 104) is DENIED.

      IT IS SO ORDERED.

      DATED:    Honolulu, Hawaii, August 18, 2006.




                                   _/s/ Helen Gillmor_________________
                                   Chief United States District Judge


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